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UNITED STA'I'ES DISTRICT COURT
NO`RTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVIS`ION
UNI'I`_ED STATES O'F AMERICA, Crimin'al No.: CR 07 100 MHP
Plaintiff,
v. ) NOTICE OF DISMI`SSAL
KENT H. ROBERTS, §
Defenda-n`ts. §

 

With leave of the Court, the Unite'd Sta-tes Attomey for the Northem District of California
dismisses the remaining counts of the above indictment with prej udice: counts one and two

(cliarging mail fraud on an honest services theory in violation of 18 U.S.C. §§ 1341 and 1346)

and-count three (charging falsifying books and records in violation of 15 U.S.C. §§

 

NOTICE OF DISM]SSAL (CR 07 100 MHP)

 

